   Case 4:20-cv-01536 Document 12 Filed on 07/02/20 in TXSD Page 1 of 2




UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS



                    NOTICE OF THE RIGHT TO TRY
             A CIVIL CASE BEFORE A MAGISTRATE JUDGE


           With the consent of all parties, a United States Magistrate Judge
    may preside in a civil case, including jury trial and final judgment.
           The choice of trial before a magistrate judge is entirely yours. Tell
    only the clerk. Neither the judge or magistrate judge will be told until all
    the parties agree.
           The district judge to whom your case is assigned must approve the
    referral to a magistrate judge.
           A consent form is attached and is also available from the clerk.


                                                                    Clerk of Court
     Case 4:20-cv-01536 Document 12 Filed on 07/02/20 in TXSD Page 2 of 2


UNITED STATES DISTRICT COURT                    SOUTHERN DISTRICT OF TEXAS


G&G Closed Circuit Events, LLC             §
                                           §
versus                                     §        Civil Action 4:20−cv−01536
                                           §
El Impresario, Inc., et al.                §

           CONSENT TO PROCEED BEFORE A MAGISTATE JUDGE

       All parties to this case waive their right to proceed before a district judge and
consent to have a United States Magistrate Judge conduct all further proceedings,
including the trial and judgment. 28 U.S.C. § 636 (c).




                              ORDER TO TRANSFER

    This case is transferred to United States Magistrate Judge Christina A. Bryan to
conduct all further proceedings, including final judgment.




                 Date                                     Vanessa D. Gilmore
                                                       United States District Judge
